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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:                                                   Chapter 11

               AGWAY FARM & HOME SUPPLY, LLC 1                          Case No. 22-10602 (JKS)

                                           Debtors.


                                                          AFFIDAVIT OF SERVICE

                  I, Monica Balos, depose and say that I am employed by Stretto, the claims and noticing
           agent for the Debtors in the above-captioned cases.

                  On December 28, 2023, at my direction and under my supervision, employees of Stretto
           caused the following document to be served via first-class mail on the service list attached hereto
           as Exhibit A:

                 •      Omnibus Order Awarding Professionals Final Allowance of Compensation for
                        Services Rendered and for Reimbursement of Expenses (Docket No. 901)

                   Furthermore, on December 28, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via electronic mail on the service list
           attached hereto as Exhibit B:

                 •      Amended Notice of Agenda of Matters Scheduled for Hearing on December 28, 2023
                        at 10:00 A.M. (ET) (Docket No. 899)

                 •      Omnibus Order Awarding Professionals Final Allowance of Compensation for
                        Services Rendered and for Reimbursement of Expenses (Docket No. 901)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.

           Dated: December 29, 2023                                              ______________________________
                                                                                           Monica Balos
           State of Colorado                )
                                            ) SS.
           County of Denver                 )

           Subscribed and sworn before me this 29th day of December 2023 by Monica Balos.

           ____________________________
             (Notary’s official signature)
           ____________________________________________
           1
            1 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
           Broad Street, Richmond, VA 23230


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                                                 Exhibit A




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                                                                           Exhibit A
                                                                   Served via First-Class Mail
                              Name                           Attention                     Address 1       Address 2     City       State     Zip
         City Clerk of Boston, MA                                                  1 City Hall Ave                  Boston          MA    02109
         City Clerk of Richmond, VA                Accounts Payable Department     900 E Broad St         Room 1004 Richmond        VA    23219
         Internal Revenue Service                                                  310 Lowell St                    Andover         MA    01810
         Internal Revenue Service                                                  PO Box 7346                      Philadelphia    PA    19101-7346
         Massachusetts Department of Revenue                                       200 Arlington St                 Chelsea         MA    02150
         Massachusetts Secretary of the
         Commonwealth Corp Div                                                     One Ashburton Place    Room 1717 Boston          MA    02108-1512
         Securities & Exchange Commission                                          100 F St NE                       Washington     DC    20549
         Virginia Commissioner of Revenue                                          144 N Sycamore St                 Petersburg     VA    23803
         Virginia Department of Taxation                                           1957 Westmoreland St              Richmond       VA    23230
         Virginia Department of Taxation                                           600 E Main St          Suite 1100 Richmond       VA    23219
         Virginia Office of the Attorney General                                   202 N Ninth St                    Richmond       VA    23219
         Virginia State Income Tax                                                 9901 Lori Rd                      Chesterfield   VA    23832




In re: Agway Farm Home Supply, LLC
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                                                 Exhibit B




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                                                                              Exhibit B
                                                                        Served via Electronic Mail
                      Name                                Attention 1                                Attention 2                               Email
                                                                                      Attn: Alan J. Friedman & Melissa Davis   afriedman@shulmanbastian.com
   Agway Farm & Home Supply, LLC            c/o Shulman Bastrian                      Lowe                                     mlowe@shulmanbastian.com
                                                                                      Attn: Jeffrey R. Waxman & Brya M.        jwaxman@morris.james.com
   Agway Farm & Home Supply, LLC            c/o Morris James LLP                      Keilson                                  bkeilson@morrisjames.com
   Animal Health International Inc.         Attn: Heather Kayser                                                               heather.kayser@pattersonvet.com
   Animal Health International Inc.         c/o Bernick Lifson PA                     Attn: Jack E. Pierce                     jpierce@bernicklifson.com
   Anthem Health Plans of Virginia, Inc.,
   d/b/a Anthem Blue Cross and Blue
   Shield                                   c/o McGuireWoods LLP                      Attn: Joseph S. Sheerin, Esq.            jsheerin@mcguirewoods.com
   Cargill Animal Nutrition- Pro Pet                                                                                           kate_hibbard@cargill.com
   Delaware Secretary of State              Division of Corporations                                                           dosdoc_bankruptcy@state.de.us
   Delaware State Treasury                                                                                                     statetreasurer@state.de.us
   Growmark FS, LLC                         c/o Franklin & Prokopik                   Attn: William A. Crawford                wcrawford@fandpnet.com
                                                                                                                               gdemartino@hubgroup.com
   Hub Group, Inc.                          Attn: Geoffrey F. De Martino                                                       kenneth.listwak@troutman.com
   Mansfield Oil Company of Gainesville,    c/o Thompson, O'Brien, Kappler &
   Inc.                                     Nasuti, PC                                                                         mpugh@tokn.com
   Massachusetts Office of the Attorney
   General                                                                                                                     ago@state.ma.us
   Office of the U.S. Trustee for the                                                                                          ustpregion03.wl.ecf@usdoj.gov
   District of Delaware                     Attn: Richard L. Schepacarter                                                      richard.schepacarter@usdoj.gov
                                       c/o Department of Labor and Industry,
   Office of Unemployment Compensation Commonwealth of Pennsylvania,
   Tax Services (UCTS)                 Collections Support Unit                       Attn: Ryan Starnowsky                    ra-li-ucts-bankrupt@state.pa.us
                                                                                                                               bsandler@pszjlaw.com
   Official Committee of Unsecured                                                Attn: Bradford J. Sandler, Colin R.          crobinson@pszjlaw.com
   Creditors                                c/o Pachulski Stang Ziehl & Jones LLP Robinson, & Steven W. Golden                 sgolden@pszjlaw.com
   Official Committee of Unsecured
   Creditors                                c/o Pachulski Stang Ziehl & Jones LLP Attn: Robert J. Feinstein                    rfeinstein@pszjlaw.com
                                                                                                                               bankruptcynoticeschr@sec.gov
   Securities & Exchange Commission         Attn: Lara Shalov Mehraban                                                         nyrobankruptcy@sec.gov
                                                                                                                               rpoppiti@ycst.com
                                            c/o Young Conaway Stargatt & Taylor,      Attn: Ryan P. Newell & Robert F.         rnewell@ycst.com
   Southern States Cooperative, Inc.        LLP                                       Poppiti, Jr.                             bankfilings@ycst.com
   Southern States Cooperative, Inc.        c/o Hirschler Felischer                   Attn: Andrew P. Sherrod                  asherrod@hirschlerlaw.com
   Southern States Cooperative, Inc.        c/o Hirschler Fleischer                   Attn: Stephen E. Leach                   sleach@hirschlerlaw.com
   The Scotts Company, LLC                  Attn: David S. Robinson                                                            dave.robinson@scotts.com


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                                                                               Exhibit B
                                                                         Served via Electronic Mail
                      Name                                   Attention 1                              Attention 2                            Email
                                               c/o Beck Chaet Bamberger & Polsky                                              deggert@bcblaw.net
   True Value Company, LLC                     SC                                      Attn: Devon J. Eggert                  pfoster@bcblaw.net
   True Value Company, LLC                     c/o Joyce, LLC                          Attn: Michael J. Joyce                 mjoyce@mjlawoffices.com
   U.S. Attorneys Office for the District of
   Delaware                                    Attn: David C. Weiss                                                           usade.ecfbankruptcy@usdoj.gov
                                                                                                                              bill.gleason@wildlifesciences.net
                                                                                                                              james.hanson@wildlifesciences.net
   Wildlife Sciences LLC                       Attn: William J. Gleason                                                       colton.gleason@wildlifesciences.net
                                               Attn: President, General, or Managing
   Woodgrain Millwork Inc.                     Agent                                                                          creditdept@woodgrain.com
                                               Attn: President, General, or Managing
   Woodgrain Millwork Inc.                     Agent                                                                          rhullette@woodgrain.com




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